    UNITED STATES BANKRUPTCY COURT
    SOUTHERN DISTRICT OF NEW YORK
    --------------------------------------------------------   x
                                                               :
    In re                                                      : Chapter 11
                                                               :
     CELSIUS NETWORK LLC, et al., 1                            : Case No. 22-10964 (MG)
                                                               :
                                                               : Jointly Administered
                                                 Debtors.      :
    --------------------------------------------------------   x

                      ORDER DIRECTING DEBTORS TO SHOW CAUSE
                 WHY THEY SHOULD NOT RETAIN WILLIS TOWERS WATSON

            Upon the United States Trustee’s Motion for Order to Show Cause Why the Debtors

Should Not Retain Willis Towers Watson [ECF Dkt. No. 2042], this Court:

            1.      HEREBY ORDERS THAT, by no later than March 1, 2023, Celsius Network

LLC and its affiliated debtors (“Debtors”) shall file with this Court a writing as to why Willis

Towers Watson should not be retained in these bankruptcy cases; it is further

            2.      ORDERED, that all pleadings or documents filed in response to or in support of

this Order shall be served on the United States Trustee and the Official Committee of Unsecured

Creditors, both through counsel; and it is further

            3.      ORDERED, that a hearing on this Order shall be held on March 8, 2023 at

11:00 a.m. EST Using Zoom for Government. i




1
          The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
identification number, are: Celsius Network LLC (2148); Celsius KeyFi LLC (4414); Celsius Lending LLC (8417);
Celsius Mining LLC (1387); Celsius Network Inc. (1219); Celsius Network Limited (8554); Celsius Networks
Lending LLC (3390); Celsius US Holding LLC (7956); GK8 Ltd. (1209); GK8 UK Limited (0893); and GK8 USA
LLC (9450). The location of Debtor Celsius Network LLC’s principal place of business and the Debtors’ service
address in these chapter 11 cases is 50 Harrison Street, Suite 209F, Hoboken, New Jersey 07030.
IT IS SO ORDERED.
Dated: February 16, 2023
       New York, New York

                                            _______/s/ Martin Glenn__________
                                                   MARTIN GLENN
                                            Chief United States Bankruptcy Judge


i
 The Court shall provide a Zoom link to those persons who have made an eCourtAppearance by
4 PM the business day before the hearing. Any party appearing at, listening to, or observing the
Hearing, must make an electronic appearance, an eCourtAppearance, by using the
eCourtAppearance portal located on the Court's website, https://ecf.nysb.uscourts.gov/cgi-
bin/nysbAppearances.pl, or by clicking the “eCourtAppearances” tab on Judge Glenn’s page of
the Court’s website at, https://www.nysb.uscourts.gov/content/chief-judge-martin-glenn.
Appearances must be entered on or before 4:00 p.m. prevailing Eastern Time on March 7, 2023.
After the deadline to make appearances passes, the Court will send Outlook invitations to those
persons who made eCourtAppearances, using the email addresses submitted with those
appearances.
